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  Corp. d/b/a Zenú Products Co.
  and Wilson Zuluaga


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.,
       Plaintiff,
    v.

  LATINFOOD U.S. CORP. d/b/a ZENÚ
  PRODUCTS CO. and WILSON ZULUAGA
      Defendants/Counter Plaintiff,                Civil Action No: 2:16-CV-06576



  LATINFOOD U.S. CORP. d/b/a ZENÚ                  DECLARATION OF MARK J. INGBER,
  PRODUCTS CO.,                                    ESQ.
      Defendants/Counter Plaintiff
  v.

  INDUSTRIA DE ALIMENTOS ZENÚ S.A.S
  and CORDIALSA USA, INC.
       Counter Defendants.



        I, MARK J. INGBER, make this declaration pursuant to 28 U.S.C. § 1746. I

        hereby state as follows:

               1.      I am an attorney with The Ingber Law Firm, counsel to Latinfood

               U.S. Corp. d/b/a Zenu Products Co. and Wilson Zuluaga (“Defendants” or

               “Latinfood”) in the above-captioned matter.




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                2. I submit this declaration in connection with my August 24, 2023 letter

                    to the Court. Except where otherwise stated, I make this declaration

                    based on my personal knowledge and my review of the record in this

                    case.

                3. A true and correct copy of the Defendants’ First Set of Requests For

                    Production of Documents to Plaintiff dated May 15, 2017 and

                    Defendants’ Second Set of Requests For Production of Documents to

                    Plaintiff dated September 15, 2018 are annexed hereto as Exhibit A.

                4. A true and correct copy of Plaintiff’s Response to Defendants’ First Set

                    of Requests for Production of Documents dated August 9, 2017 is

                    annexed hereto as Exhibit B.

                5. A true and correct copy of Plaintiff’s Response to Defendants’ Second

                    Set of Requests for Production of Documents dated October 29, 2018 is

                    annexed hereto as Exhibit C.



 I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 By:     /s/ Mark J. Ingber
           Mark J. Ingber, Esq.



 Dated: Livingston, New Jersey
        August 23, 2023




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